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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 SAMUEL BEREZIN, Derivatively on Behalf
 of Nominal Defendant DANIMER
 SCIENTIFIC, INC.,

                        Plaintiff,

                v.

 STEPHEN E. CROSKREY, JOHN A.
 DOWDY, III, RICHARD HENDRIX, JOHN
 P. AMBOIAN, PHILIP GREGORY
 CALHOUN, GREGORY HUNT, ISAO                         Case No.
 NODA, STUART PRATT, CHRISTY
 BASCO, ANDREA K. TARBOX, TOR B.
 BRAHAM, JONATHAN FURER, HAROLD
 FORD JR., and JOHN W. SWEET,

                        Defendants,

                and

 DANIMER SCIENTIFIC, INC.,

                        Nominal Defendant




                VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT

       Plaintiff Samuel Berezin (“Plaintiff”), by and through his undersigned attorneys, brings this

derivative complaint for the benefit of nominal defendant, Danimer Scientific, Inc. (“Danimer” or

the “Company”), against its Board of Directors (the “Board”) and certain of its executive officers

seeking to remedy defendants’ breaches of fiduciary duties and violations of Section 14(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”). Plaintiff’s allegations are based upon his

personal knowledge as to himself and his own acts, and upon information and belief, developed

from the investigation and analysis by Plaintiff’s counsel, including a review of publicly available

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information, including filings by Danimer with the U.S. Securities and Exchange Commission

(“SEC”), press releases, news reports, analyst reports, investor conference transcripts, publicly

available filings in lawsuits, and matters of public record, and books and records produced by the

Company in response to Plaintiff’s demand pursuant to 8 Del. C. § 220 (“220 Demand”).

I.       NATURE AND SUMMARY OF THE ACTION

         1.    Danimer is a polymer company that creates bioplastic replacements for traditional

petroleum-based plastics and sells them under the brand name Nodax. It became a public entity in

December 2020 via business combination with Live Oak Acquisition Corp. (“Live Oak”), a special

purpose acquisition company.

         2.    The Company publicly claimed that Nodax is “100% biodegradable” within “12-

18 weeks after the product is discarded.” It also touted its “take or pay” contracts with customers

as a “huge differentiator in the polymer world” which have “fully sold out [Danimer’s] current

production capacity.”

         3.    On March 20, 2021, The Wall Street Journal (“WSJ”) published an article entitled

“Plastic Straws That Quickly Biodegrade in the Ocean? Not Quite, Scientists Say.” The article

reported that “many claims about Nodax are exaggerated and misleading, according to several

experts on biodegradable plastics.” Contrary to Danimer’s claims that Nodax products can

biodegrade in oceans within a few months, the WSJ article noted that “variations in temperature

and microorganisms in the ocean make it very difficult to promise a bottle made from Nodax will

biodegrade in 18 months.”

         4.    On this news, the Company’s stock price fell $6.43, or 13%, to close at $43.55 per

share on March 22, 2021.

         5.    Though Danimer issued a response purporting to rebut these claims, Spruce Point

Capital Management (“Spruce Point”) published a report on April 22, 2021 noted that “Danimer’s
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scientific support and rebuttal to the WSJ article is based on research conducted by University of

Georgia professors who have received financial backing from Danimer and have had their students

hired by the Company.” It pointed out that, following the WSJ article, Danimer “removed

statements claiming ‘derived from 100% renewable source’ and ‘fully degradable in 12-18 weeks

after the product is discarded’ from its investor presentation.” The April 22 Spruce Point report

also questioned Danimer’s production capacity. It stated that there were “multiple inconsistent

descriptions of the size of its facility, production capacity, and costs that differ from other

Company statement or government documents.”

       6.      On this news, the Company’s stock price fell $2.01, or 8%, to close at $22.99 per

share on April 22, 2021.

       7.      On May 4, 2021, Spruce Point published a follow-up report, citing documents from

Freedom of Information Act requests.” Specifically, the documents “suggest[] Danimer’s

production figures, its pricing, and rosy financial projections are wildly overstated.” On this news,

the Company’s stock price fell $1.49, or 6.3%, to close at $22.14 per share on May 4, 2021.

       8.      On September 15, 2021, Muddy Waters issued a report corroborating Spruce

Point’s findings. It further alleged that Danimer “significantly misrepresented the state of its

customer relationships, demand, product development, readiness to scale, and TAM for PHAs.”

On this news, the Company’s stock price fell $2.51, or 14.5%, to close at $14.73 per share on

September 15, 2021.

       9.      In December 2021, Danimer disclosed that it had received a document request from

the SEC in May 2021 as part of its “non-public, fact-finding inquiry, requesting that the Company

voluntarily produce certain specified information.” The SEC has had additional requests for

information, and the Company has responded to all such requests.



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        10.     These revelations precipitated the filing of a securities class action in the U.S.

District Court for the Eastern District of New York against Danimer and certain of the defendants

named herein, captioned In re Danimer Scientific, Inc. Securities Litigation, Case No. 21-cv-02708

(the “Securities Class Action”).

        11.     Plaintiff did not make a litigation demand prior to filing this action because such

action would have been futile based upon the composition of the Board and the actions taken by

the Board, as alleged herein.

II.     JURISDICTION AND VENUE

        12.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 in that this

Complaint states a federal question: violations of Section 14(a) of the Exchange Act. This Court

has supplemental jurisdiction over the state law claims asserted herein pursuant to 28 U.S.C. §

1367(a). This action is not a collusive one to confer jurisdiction on a court of the United States

which it would not otherwise have.

        13.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because

the Company is incorporated in Delaware and is thus a citizen of this District. Additionally, the

Company’s bylaws contain a forum selection clause requiring shareholder derivative actions like

this one to be filed in this District.

III.    PARTIES

Plaintiff

        14.     Plaintiff purchased shares of Danimer stock in December 2020 and has

continuously owned his Danimer stock since that date. He currently owns 300 shares.




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Nominal Defendant

       15.    Nominal Defendant Danimer is a Delaware corporation with its principal executive

offices located at 140 Industrial Boulevard, Bainbridge, GA 39817. The Company’s Class A

common stock trades on the New York Stock Exchange (“NYSE”) under the symbol “DNMR.”

Defendants

       16.    Defendant Stephen E. Croskrey (“Croskrey”) has served as Danimer’s Chief

Executive Officer (“CEO”) and a member of the Board since February 2016.

       17.    Defendant John A. Dowdy, III (“Dowdy”) has served as Chief Financial Officer

(“CFO”) of Danimer (and, prior to Business Combination, Legacy Danimer) since May 2014.

       18.    Defendant Richard Hendrix (“Hendrix”) has served as a director of Danimer since

December 2020. Prior to that, he was CEO of Live Oak and a director of Live Oak from May 2020

to December 2020.

       19.    Defendant John P. Amboian (“Amboian”) has served as a director of Danimer since

December 2020. Prior to that, he was chairman of Live Oak from May 2020 to December 2020.

       20.    Defendant Philip Gregory Calhoun (“Calhoun”) has served as a director of Danimer

(and, prior to Business Combination, Legacy Danimer) since 2014.

       21.    Defendant Gregory Hunt (“Hunt”) has served as a director of Danimer (and, prior

to Business Combination, Legacy Danimer) since June 2019.

       22.    Defendant Isao Noda (“Noda”) has served as a director of Danimer (and, prior to

Business Combination, Legacy Danimer) since 2016.

       23.    Defendant Stuart Pratt (“Pratt”) has served as a director of Danimer (and, prior to

Business Combination, Legacy Danimer) since May 2015.

       24.    Defendant Christy Basco (“Basco”) served as a director of Danimer (and, prior to

Business Combination, Legacy Danimer) from July 2020 to August 2022.

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       25.     Defendant Andrea K. Tarbox (“Tarbox”) was CFO of Live Oak and a director of

Live Oak.

       26.     Defendant Tor R. Braham (“Braham”) was a director of Live Oak.

       27.     Defendant Jonathan Furer (“Furer”) was a director of Live Oak.

       28.     Defendant Harold Ford Jr. (“Ford”) was a director of Live Oak.

       29.     Defendant John W. Sweet (“Sweet”) was a director of Live Oak.

       30.     Defendants Croskrey, Dowdy, Hendrix, Amboian, Calhoun, Hunt, Noda, Pratt, and

Basco are sometimes referred to hereinafter as the “Danimer Individual Defendants.” Defendants

Amboian, Tarbox, Braham, Furer, Ford, and Sweet are sometimes referred to hereinafter as the

“Live Oak Individual Defendants.” The Danimer Individual Defendants and the Live Oak

Individual Defendants are collectively referred to as the “Individual Defendants.”

IV.    DUTIES OF THE INDIVIDUAL DEFENDANTS

       31.     By reason of their positions as officers, directors, and/or fiduciaries of Danimer and

because of their ability to control the business and corporate affairs of Danimer, at all relevant

times, the Individual Defendants owed Danimer and its shareholders fiduciary obligations of good

faith, loyalty, and candor, and were required to use their utmost ability to control and manage

Danimer in a fair, just, honest, and equitable manner. The Individual Defendants were required to

act in furtherance of the best interests of Danimer and its shareholders so as to benefit all

shareholders equally and not in furtherance of their personal interest or benefit. Each director and

officer of the Company owes to Danimer and its shareholders a fiduciary duty to exercise good

faith and diligence in the administration of the affairs of the Company and in the use and

preservation of its property and assets, and the highest obligations of fair dealing.

       32.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of Danimer, were able to and did, directly and/or indirectly, exercise
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control over the wrongful acts complained of herein. Because of their advisory, executive,

managerial, and directorial positions with Danimer, each of the Individual Defendants had

knowledge of material non-public information regarding the Company.

       33.      To discharge their duties, the officers and directors of Danimer were required to

exercise reasonable and prudent supervision over the management, policies, practices and controls

of the Company. By virtue of such duties, the officers and directors of Danimer were required to,

among other things:

                (a)    Exercise good faith to ensure that the affairs of the Company were
                       conducted in an efficient, business-like manner so as to make it possible to
                       provide the highest quality performance of their business;

                (b)    Exercise good faith to ensure that the Company was operated in a diligent,
                       honest, and prudent manner and complied with all applicable federal and
                       state laws, rules, regulations and requirements, and all contractual
                       obligations, including acting only within the scope of its legal authority;

                (c)    Exercise good faith to ensure that the Company’s communications with the
                       public and with shareholders are made with due candor in a timely and
                       complete fashion; and

                (d)    When put on notice of problems with the Company’s business practices and
                       operations, exercise good faith in taking appropriate action to correct the
                       misconduct and prevent its recurrence.

V.     SUBSTANTIVE ALLEGATIONS

       A.       Background

       34.      Meridian Holdings Group, Inc. d/b/a Danimer Scientific (“Legacy Danimer”)

acquired the patents underlying polyhydroxyalkanoate (“PHA”) from Procter & Gamble Company

in 2007 and has since sought to commercialize PHA. Legacy Danimer manufactures PHA and

sells it under the brand name Nodax as a purportedly “100% biodegradable plastic feedstock

alternative.”




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       35.    In October 2020, Legacy Danimer entered an agreement to become a public entity

via business combination with Live Oak Acquisition Corp. (“Live Oak”), a special purpose

acquisition company formed for the purpose of effecting a merger, acquisition, reorganization, or

similar business combination with one or more businesses.

       B.     The Individual Defendants Cause the Company to Issue Materially Misleading
              Statements

       36.    On October 5, 2020, the Individual Defendants caused Live Oak and Legacy

Danimer to announce that they had entered into a definitive merger agreement, in which they

claimed that Nodax is “100% biodegradable.” The press release also made the following claims

about Legacy Danimer’s production facilities and its key partnerships:

       Danimer is currently producing and shipping Nodax™ at an industrial scale
       level from its existing facility in Winchester, Kentucky. The company has
       partnered with key plastics manufacturers and consumer products companies
       such as PepsiCo, Nestlé, Genpak, WinCup, Columbia Packaging Group and
       Plastic Suppliers Inc. as they transition a wide variety of plastic applications,
       including straws, food and beverage containers, flexible packaging, agricultural and
       medical applications, among others. Based on signed and pending contracts, the
       company is fully sold out of all production in its Kentucky facility and will use
       their increased capital base to significantly increase production, to meet the
       current and long-term demand of its customer base.

       37.    The same day, a conference call was held to discuss the Business Combination.

During the call, defendant Hendrix stated that “Danimer’s PHA polymer is the first commercially

available PHA in the world to be certified as marine degradable, which is the highest standard of

biodegradability. It means the material will fully degrade in ocean water without leaving behind

harmful microplastics.” Defendant Croskrey similarly stated that “fresh water and finally marine

degradable are the most difficult and highest standards to achieve because there’s less and less

bacteria” and “Danimer’s PHA products are certified as marine degradable.”

       38.    During the same October 5, 2020 call, defendant Hendrix claimed that Danimer has

“take-or-pay contracts that are a huge differentiator in the polymer world” and that “Danimer is

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currently in receipt of contracts that have fully sold out its current production capacity, as well as

the capacity that will come online with the phase two plant expansion[.]” Likewise, defendant

Croskrey stated that the “100% take-or-pay contracts on [Danimer’s] products . . . help us drive

costs out of our business as we scale up production to meet [customers’] needs.”

       39.     Also on October 5, 2020, the Individual Defendants caused the Company to file an

investor presentation as an attachment to a Form 8-K with the SEC. The presentation claimed that

Nodax is “[f]ully degradable in 12-18 weeks after the product is discarded.” It reiterated claims

made during the call that Danimer had a “Rapidly Growing Blue Chip Customer Base with Take-

or-Pay Contracts [that] has led to [a] Fully Sold-Out Position.” To meet this customer demand,

Danimer would complete its Phase 1 build-out that would enable the Company to produce

approximately 20 million pounds of finished PHA product annually, and the Phase II expansion

would increase production capacity by 45 million pounds.

       40.     On October 21, 2020, the Individual Defendants caused Danimer to announce an

agreement with Bacardi for a “100% Biodegradable Spirits Bottle.” The press release claimed that

the “new 100% biodegradable bottle” manufactured with Nodax “will biodegrade in a wide range

of environments, including compost, soil, freshwater and sea water, and after 18 months disappear

without leaving behind harmful microplastics.”

       41.     On November 17, 2020, the Individual Defendants caused Danimer to announce

that the Company “will produce biodegradable drinking straws for the quick service restaurant

(QSR) industry.” The press release claimed that Danimer’s PHA is a “proven biodegradable

alternative to traditional petrochemical plastics” and that the “straws will degrade in environments

ranging from industrial composting facilities to home compost units and oceans without leaving

behind microplastics.”



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       42.     On December 16, 2020, the Live Oak Individual Defendants caused Live Oak to

issue a proxy statement/prospectus on Form 424(b)(3) soliciting stockholder approval of the

Business Combination, among other things. It was signed by defendants Hendrix, Tarbox,

Amboian, Braham, Furer, Ford, and Sweet. It claimed that Danimer offered “100% biodegradable

polymers for use in plastic applications” and that Danimer had “strong partnerships with industry

leaders, such as CPG brands including Pepsi and Nestle.”

       43.     On March 16, 2021, the Danimer Individual Defendants caused the Company to

announce an agreement with Mars Wrigley “to develop an innovative home compostable

packaging for a more sustainable planet.” It stated, in relevant part:

       Danimer Scientific’s signature packaging - Nodax® polyhydroxy– alkanoate
       (PHA) – is produced through natural fermentation processes using plant oils such
       as soy and canola and biodegrades in both soil and marine environments. Mars will
       continue to evaluate opportunities to scale this novel, innovative and sustainable
       packaging technology across its portfolio of brands and categories.

       Danimer Scientific and Mars Wrigley plan to introduce Nodax®PHA into
       flexible and rigid packaging that reliably breaks down in both industrial
       composting facilities and backyard compost units, offering an enhanced value
       proposition for environmentally conscious consumers and retailers. Sourced from
       the seeds of plants such as canola and soy, Nodax®PHA can serve as an alternative
       to traditional petrochemical plastic and has been certified as biodegradable in soil
       and marine environments. In addition to better end-of-life options, Nodax® PHA
       is renewably sourced, making it a truly circular material that helps eliminate waste.

       44.     The above statements in ¶¶ 36-43 were materially misleading because they: (i)

overstated the biodegradability of Nodax; (ii) overstated Danimer’s production capacity; and (iii)

misrepresented demand for Nodax, including the nature of its purported customer partnerships.

       C.      The Truth Fully Emerges

       45.     On March 20, 2021, The Wall Street Journal (“WSJ”) published an article entitled

“Plastic Straws That Quickly Biodegrade in the Ocean? Not Quite, Scientists Say.” The article

reported that “many claims about Nodax are exaggerated and misleading, according to several


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experts on biodegradable plastics.” Quoting Dr. Jason Locklin, a professor at University of

Georgia, the article stated that Danimer’s claims are “sensationalized” and making broad claims

about Nodax’s biodegradability is “greenwashing.” In fact, Dr. Locklin had conducted the study

that Danimer describes in its marketing material as verifying Nodax as “a truly biodegradable

alternative,” but it had shown that “Nodax in powdered form breaks down quickly, but that the

rate is much more variable when tested as a film, the form used to make bags, straws and bottles.”

       46.     Contrary to Danimer’s claims that Nodax products can biodegrade in oceans within

a few months, the WSJ article noted that “variations in temperature and microorganisms in the

ocean make it very difficult to promise a bottle made from Nodax will biodegrade in 18 months.”

Moreover, the marine biodegradability test used to gain certification examines Nodax using

seawater at a temperature of 30 degrees Celsius, but the average ocean temperature is 4 degrees

Celsius, “which means items could degrade more slowly in real life,” according to another

professor who has researched biodegradable plastics for decades.

       47.     On this news, the Company’s stock price fell $6.43, or 13%, to close at $43.55 per

share on March 22, 2021.

       48.     On March 26, 2021, defendants Croskrey, Amboian, Basco, Calhoun, Hendrix,

Hunt, Noda, and Pratt attended a Board meeting where they discussed the WSJ article and “how

to respond to associated questions during the earnings call on Monday March 29, 2021.”

       49.     On April 8, 2021, Danimer issued a response to the WSJ article, stating that “[a]ny

claims of biodegradability we make are backed by international testing standards.” The Company

did not dispute that “variable environmental conditions can influence the amount of time it takes

for our material to biodegrade,” but stated that “we are very clear about this on our website.”




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Danimer’s statement also included a copy of Dr. Locklin’s letter to the editor of the WSJ which

stated, in relevant part:

        The article includes two quotations attributed to me. While I don’t question that I
        said the quoted words, to the best of my memory, my statements were in reaction
        to broad marketing claims by converters or brands selling PHA-based products
        without proper context that biodegradation time is variable with environmental
        conditions. To the best of my knowledge, I was not made aware during the
        interview, and I am not otherwise aware, of any such marketing claims made
        by Danimer Scientific, Inc. (producer of “Nodax,” a PHA copolymer) that are
        “sensationalized” or constitute “greenwashing” in my opinion.

(Emphasis in original.)

        50.     However, as pointed out by a report by Spruce Point Capital Management (“Spruce

Point”) on April 22, 2021, Dr. Locklin and the University of Georgia “have significant financial

ties to Danimer, [which] the Company has tried to obscure by removing press releases [published

between 2012 and 2017] from its website,” one of which “is the announcement of funding to

University of Georgia Labs,” suggesting Dr. Locklin had a financial incentive to dispute the WSJ

article. The Spruce Point further stated that “Danimer’s scientific support and rebuttal to the WSJ

article is based on research conducted by University of Georgia professors who have received

financial backing from Danimer and have had their students hired by the Company.” It also

highlighted that Pepsi had sold its equity stake in Danimer during the second quarter of 2021,

according to Pepsi’s quarterly report filed in April 2021. It pointed out that, following the WSJ

article, Danimer “removed statements claiming ‘derived from 100% renewable source’ and ‘fully

degradable in 12-18 weeks after the product is discarded’ from its investor presentation.”

        51.     The April 22 Spruce Point report also questioned Danimer’s production capacity.

It stated that there were “multiple inconsistent descriptions of the size of its facility, production

capacity, and costs that differ from other Company statement or government documents.”




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       52.       On this news, the Company’s stock price fell $2.01, or 8%, to close at $22.99 per

share on April 22, 2021.

       53.       On April 24, 2021, defendants Croskrey, Amboian, Basco, Calhoun, Hunt, Pratt,

and Noda attended a Board meeting where they discussed that Sard Verbinnen & Co. (“SVC”) had

been engaged “to provide guidance to the Company on public relations and crisis management

matters following several recent occurrences,” including the WSJ article and the April 22 Spruce

Point report. They discussed the allegation that Danimer’s “PHA offerings are not sufficiently

biodegradable” and concluded that it was “without merit.”

       54.       On May 4, 2021, Spruce Point published a follow-up report, citing documents from

Freedom of Information Act requests.” Specifically, the documents “suggest[] Danimer’s

production figures, its pricing, and rosy financial projections are wildly overstated.” It stated, in

relevant part:

       Monthly Kentucky PHA production figures have been restated by up to 100% after
       coming public. Danimer’s PHA average selling price appears to be 30% - 42%
       below management’s claims. Moreover, Danimer’s recently reported production
       figures are so far below their actual capacity that it calls into question why Danimer
       is telling investors it needs hundreds of millions of dollars in capacity expansion?

       55.       As to average selling price, the May 4 Spruce Point report stated:

       Danimer’s October 2020 Investor Presentation implied PHA ASPs of $3.00/lb. and
       the CEO alluded to pricing in the $2.50-$2.70 range on the year end conference call
       in March 2021. However, based on Danimer’s 2.5m lbs. of certified actual
       production, and $4.4 of reported PHA sales, we estimate PHA ASPs were closer to
       $1.74/lb, or 30% - 42% lower than discussed by management. Danimer’s Investor
       Presentation said it was in a ‘Fully Sold-Out’ position. Even if we assume a one-
       month lag between production and shipment, ASP would still be $2.01/lb or 20% -
       33% below management’s claims.

       56.       On this news, the Company’s stock price fell $1.49, or 6.3%, to close at $22.14 per

share on May 4, 2021.




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        57.     On September 15, 2021, Muddy Waters issued a report corroborating Spruce

Point’s findings. It further alleged that Danimer “significantly misrepresented the state of its

customer relationships, demand, product development, readiness to scale, and TAM for PHAs.” It

stated, in relevant part:

        In our view, DNMR has misled investors about having over $200 million of “take
        or pay” agreements. We feel it has misled investors by stating that its only
        impediment to selling more product is lack of capacity when the products it hopes
        to sell do not yet exist. It expressly claimed that it can sell everything it produces,
        but in actuality the demand for its products appears to be quite weak. DNMR has
        announced four iterations of its capacity expansion plan in eight months, which
        indicates that it is likely to waste significant time and money trying to scale. Yet,
        DNMR’s purchase of Novomer seems to be a tacit admission that its fermentation
        might not scale. 64 In 2015, DNMR claimed that Bainbridge had 60 million pounds
        per year of capacity; but, today it’s supposedly just a demonstration plant. DNMR
        has tried to mislead investors into believing that bag developed with PepsiCo is
        PHA when it is really PLA based.

        58.     The Muddy Waters report also alleged that demand for Danimer’s products is

“limited” and that Danimer has “significant (but below the radar) PHA production misses.” It

stated, in relevant part:

        What DNMR can produce seems to have limited demand, which is in stark contrast
        to CEO Stephen Croskrey’s pronouncement that DNMR can sell all the PHA it
        produces and the company’s claim that it is “fully sold-out of [2022E] Kentucky
        capacity from overwhelming demand”. Instead, DNMR seems unable to make
        PHA for the products for which there seems to be significant potential market.
        DNMR has likely not produced PHA for products sold to end users, other than
        straws and possibly plastic shopping bags.

        Supporting our conclusion that demand for DNMR’s existing products seems quite
        weak are DNMR’s apparent significant (but below the radar) PHA production
        misses in each of Q1 and Q2 this year. Using company favorable assumptions, we
        estimate that DNMR has been operating at only 28% of capacity, rather than the
        expected 50%. Less company favorable, but still reasonable, assumptions yield
        estimates as low as 18% capacity. Moreover, DNMR’s slow-turning inventory
        (~3x) consistently shows zero to de minimis amounts of work in process while
        having material balances of both raw materials and finished goods, which we
        think shows that there is not much demand for what DNMR is capable of producing.




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        59.     The Muddy Waters report also alleged that Danimer’s purported partnerships were

still in the developmental stages. It stated, in relevant part:

        DNMR has greatly misled investors about its partnerships. When DNMR went
        public, Mr. Croskrey said on CNBC that the company was “sitting on over $200
        million of take or pay off agreements, and we had customers like PepsiCo, Nestle,
        Bacardi, you know expecting us to be able to grow our capacity, so we had to find
        a way to find a lot of cash fast.” We believe that the products DNMR hopes to
        produce for these partners are in the very early stages of development, and that
        production capacity was not even close to being an issue for these products. These
        purported “take or pay” agreements reportedly have outs for the customers if
        DNMR has been unable to develop product that meets customer requirements.
        Moreover, we understand that the PepsiCo take or pay was for pilot plant scale,
        and that DNMR likely has not finalized a commercial-scale agreement with
        PepsiCo. We also understand that Mars Wrigley will likely not be using in scale a
        DNMR plastics wrapper before 2025 – if ever; and, that PepsiCo is probably many
        years away (if ever) from any sizable PHA compound purchases from DNMR.

        60.     On this news, the Company’s stock price fell $2.51, or 14.5%, to close at $14.73

per share on September 15, 2021.

        61.     On September 17, 2021, Danimer issued a response to the Muddy Waters report,

making general statements and conclusions to undermine its credibility but failing to address the

report’s claims. For example, the response stated that “demand is evident in the numerous

partnerships Danimer has established,” citing companies that are “currently working with Danimer

to produce biodegradable and compostable alternatives to plastic products,” but did not dispute

Muddy Waters’ claim that these partnerships were still in its early stages. Moreover, it reported

that Danimer’s nameplate production capacity of PHA is half of its prior representations:

        The Company discusses production volumes in terms of finished pounds, rather
        than neat PHA (a.k.a. “Nodax®”), because finished product is what is sold to
        customers.

        Prior to considering the integration of Rinnovo™ in its formulations, Danimer has
        stated that finished capacity at its Kentucky Phase I facility is 20 million finished
        pounds per year, which means that the Kentucky Phase I facility’s capacity is 10
        million pounds of Nodax®. The Company has previously noted that, on average,
        Nodax® comprises approximately 50% of the formulation for finished product.
        Through repetition and continuous improvement, Danimer is scaling its production

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       capacity and will continue to manufacture as much Nodax® as possible. Because
       the Muddy Waters analysis conflates these figures, below are the correct figures for
       Danimer’s Kentucky Phase I facility:

             •   In Q1 2021, Danimer produced approximately 1.4 million pounds of
                 Nodax®, which equates to approximately 55% capacity utilization for the
                 three-month period.

             •   In Q2 2021, during which time Danimer completed the debottlenecking of
                 its facility, the Company produced approximately 1.2 million pounds of
                 Nodax®, which equates to approximately 47% capacity utilization for the
                 three-month period.

             •   In July 2021, Danimer produced approximately 0.6 million pounds of
                 Nodax®, which equates to approximately 69% capacity utilization for the
                 one-month period.

       As previously detailed and prior to considering the integration of Rinnovo™ in the
       Company’s formulations, Phase II construction in Kentucky is underway with
       production expected to commence in Q2 2022, adding an expected 45 million
       pounds of finished product (or approximately 22.5 million pounds of Nodax®) to
       annual nameplate PHA capacity.

       62.       In December 2021, Danimer disclosed that it had received a document request from

the SEC in May 2021 as part of its “non-public, fact-finding inquiry, requesting that the Company

voluntarily produce certain specified information.” The SEC has had additional requests for

information, and the Company has responded to all such requests.

       D.        The Danimer Defendants Issued a Materially Misleading Proxy Statement

       63.       On June 30, 2022, defendants Croskrey, Hendrix, Amboian, Calhoun, Hunt, Noda,

Pratt, and Basco issued a definitive proxy statement soliciting stockholder votes in advance of the

Company’s annual meeting to be held August 11, 2022. In the proxy statement, these eleven

directors solicited stockholder votes in favor of four management proposals, including the election

of Croskrey, Hendrix, Amboian, Calhoun, Hunt, Noda, and Pratt to new terms as directors.

       64.       The proxy statement disclosed that the Board had determined that defendants

Croskrey and Pratt were not independent.


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       65.       As to the Board’s role in risk oversight, the proxy statement stated, in relevant part:

       Management is responsible for the day-to-day management of risks the Company
       faces, while the Board of Directors, as a whole and through its committees, provides
       risk oversight. In its risk oversight role, the Board of Directors assesses whether the
       risk management processes designed and implemented by management are
       adequate and functioning as designed, including assessing major risk factors
       relating to the Company and its performance, and reviewing measures to address
       and mitigate risks. In order to efficiently discharge its duty to oversee risk
       management, the Board of Directors has delegated some risk oversight tasks to
       various committees of the Board of Directors and to members of management, each
       of which reports regularly to the entire Board with respect to such responsibilities.
       In particular, the Audit Committee plays a significant role in monitoring and
       assessing our financial, legal, and operational risks, and it receives regular reports
       from the management team regarding comprehensive organizational risk and
       particular areas of concern.

       66.       The proxy statement further stated that the “Code of Ethics, Corporate Governance

Guidelines, and the charters of our Audit, Compensation and Nominating and Corporate

Governance Committees were adopted by Danimer to promote honest and ethical conduct, full,

fair, accurate, timely and understandable disclosure in periodic reports required to be filed by

Danimer, and compliance with all applicable rules and regulations that apply to Danimer and its

officers and directors.”

       67.       The Code of Ethics, incorporated by reference into the proxy statement, claims to

“promote the full, fair, accurate, timely and understandable disclosure in reports and documents

that the Company files with, or submits to, the U.S. Securities and Exchange Commission (the

‘SEC’), as well as in other public communications made by or on behalf of the Company.” As

to “Disclosure,” the Code of Ethics states:

       The Company strives to ensure that the contents of and the disclosures in the reports
       and documents that the Company files with the SEC and other public
       communications shall be full, fair, accurate, timely and understandable in
       accordance with applicable disclosure standards, including standards of materiality,
       where appropriate. Each person must:

             •   not knowingly misrepresent, or cause others to misrepresent, facts about the
                 Company to others, whether within or outside the Company, including to

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                 the Company’s independent registered public accountants, governmental
                 regulators, self-regulating organizations and other governmental officials,
                 as appropriate; and

             •   in relation to his or her area of responsibility, properly review and critically
                 analyze proposed disclosure for accuracy and completeness.

       In addition to the foregoing, the Chief Executive Officer and Chief Financial
       Officer of the Company and each subsidiary of the Company (or persons
       performing similar functions), and each other person that typically is involved in
       the financial reporting of the Company, must familiarize himself or herself with the
       disclosure requirements applicable to the Company as well as the business and
       financial operations of the Company.

       Each person must promptly bring to the attention of each Chairperson of the Board
       (the “Chairperson”) any information he or she may have concerning (a) significant
       deficiencies in the design or operation of internal and/or disclosure controls that
       could adversely affect the Company’s ability to record, process, summarize and
       report financial data or (b) any fraud that involves management or other employees
       who have a significant role in the Company’s financial reporting, disclosures or
       internal controls.

       68.       The proxy statement was materially misleading because it misrepresented the

Board’s activities with respect to accuracy of disclosures while soliciting votes to reelect and

compensate directors who were breaching their fiduciary duties. Specifically, the Board claimed

to exercise risk oversight and promote accurate disclosure, yet it did not even attempt to review

Danimer’s April 8, 2021 response to the WSJ article. In response to Plaintiff’s 220 Demand, the

Company represented that there were no other Board-level documents between December 2020

and October 2021 regarding the biodegradability of Nodax, other than the minutes for the March

26, 2021 and April 24, 2021 meetings. A reasonable shareholder would have found the truth to be

material when deciding to vote for or against these proposals.

       69.       On August 15, 2022, Danimer filed a Form 8-K with the SEC disclosing the results

from the votes on the proposals contained in the proxy statement. In particular, Croskrey, Hendrix,

Amboian, Calhoun, Hunt, Noda, and Pratt were reelected to new terms as directors. The reelection

of these seven directors based on the misleading statements contained in the proxy statement and

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other public filings was a fundamental link in these directors’ continued breaches of fiduciary

duties and their continued enrichment at the expense of the Company’s unaffiliated stockholders.

VI.    DAMAGES TO THE COMPANY

       70.     As a direct and proximate result of the Individual Defendants’ conduct, Danimer

has been seriously harmed and will continue to be. Such harm includes, but is not limited to:

               a)      Any funds paid to settle the Securities Class Action;

               b)      Costs and expenses incurred in connection with the SEC investigation,

including but not limited to penalties;

               c)      Costs incurred from compensation and benefits paid to the defendants who

have breached their duties to Danimer.

       71.     In addition, Danimer’s business, goodwill, and reputation with its business partners,

regulators, and shareholders have been gravely impaired. The Company still has not fully admitted

the nature of its false statements and the true condition of its business. The credibility and motives

of management are now in serious doubt.

       72.     The actions complained of herein have irreparably damaged Danimer’s corporate

image and goodwill. For at least the foreseeable future, Danimer will suffer from what is known

as the “liar’s discount,” a term applied to the stocks of companies who have been implicated in

illegal behavior and have misled the investing public, such that Danimer’s ability to raise equity

capital or debt on favorable terms in the future is now impaired.

VII.   DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       73.     Plaintiff brings this action derivatively in the right and for the benefit of Danimer

to redress injuries suffered, and to be suffered, by Danimer as a direct result of the wrongdoing

alleged herein. Danimer is named as a nominal defendant solely in a derivative capacity. This is

not a collusive action to confer jurisdiction on this Court that it would not otherwise have.

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       74.     Plaintiff will adequately and fairly represent the interests of Danimer in enforcing

and prosecuting its rights.

       75.     Plaintiff has continuously been a shareholder of Danimer at times relevant to the

wrongdoing complained of and is a current Danimer shareholder.

       76.     When this action was filed, Danimer’s Board of Directors consisted of defendants

Croskrey, Amboian, Calhoun, Hendrix, Hunt, Noda, Pratt, and non-party directors Cynthia Cohen

and Allison Leopold Tilley. Plaintiff did not make any demand on the Board to institute this action

because such a demand would be a futile, wasteful, and useless act, as set forth below.

       77.     Hunt and Amboian served as members of the Audit Committee at relevant times.

As such they are responsible for the integrity of Danimer’s financial statements and the accuracy

of its public statements. In their capacities as Audit Committee members, Hunt and Amboian

reviewed and approved the materially misleading statements and allowed them to be disseminated

in Danimer’s SEC filings and other disclosures. Thus, Hunt and Amboian breached their fiduciary

duties and are not disinterested, and demand is excused as to them.

       78.     Croskrey is the Company’s CEO and therefore is not independent under NYSE

listing rules. As an employee, Croskrey derives substantially all of his income from his

employment with Danimer, thus could not disinterestedly consider a demand for action that might

require him to sue the directors that control his continued employment and/or his fellow members

of management with whom he works on a day-to-day basis. As a result, demand is futile as to him.

       79.     Amboian also lacks independence because he selected Danimer to merge with Live

Oak, a special purpose acquisition company led by him.




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       80.     Pratt lacks independence because he receives fees pursuant to a consulting

agreement with the Company. For fiscal 2021, he received $106,400 in stock and cash

compensation related to such consulting agreement.

       81.     Croskrey, Amboian, Calhoun, Hendrix, Hunt, Noda, Pratt could not disinterestedly

consider a demand because they issued the proxy statement misrepresenting the Board’s duties

with respect to risk oversight. As a result of the misleading proxy statement, these seven directors

were reelected to new terms.

                                            COUNT I

               Against the Individual Defendants for Breach of Fiduciary Duty

       82.     Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       83.     The Individual Defendants each owes and owed to the Company the duty to

exercise candor, good faith, and loyalty in the management and administration of Danimer’s

business and affairs, particularly with respect to issues as fundamental as public disclosures.

       84.     The conduct by the Individual Defendants set forth herein was due to their

intentional or reckless breach of the fiduciary duties they owed to the Company. The Individual

Defendants intentionally or recklessly breached or disregarded their fiduciary duties to protect the

rights and interests of Danimer.

       85.     In breach of their fiduciary duties owed to Danimer, the Individual Defendants

willfully participated in and caused the Company to expend unnecessarily its corporate funds,

rendering them personally liable to the Company for breaching their fiduciary duties.

       86.     In particular, the Individual Defendants knowingly or recklessly made untrue

statements and/or permitted the Company’s public filings, disclosures, and statements to

misleadingly report Company’s overall prospects.

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        87.     As a direct and proximate result of the breaches of their fiduciary obligations by

the Individual Defendants, Danimer has sustained and continues to sustain significant damages,

including direct monetary damages, exposure to liability from securities litigation and a loss of

goodwill in the capital markets. As a result of the misconduct alleged herein, defendants are liable

to the Company.

                                            COUNT II

  (Against the Danimer Defendants For Violations of Sections 14(a) of the Exchange Act)

        88.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

        89.     Rule 14a-9, promulgated pursuant to §14(a) of the Securities Exchange Act of

1934, provides that no proxy statement shall contain “any statement which, at the time and in light

of the circumstances under which it is made, is false or misleading with respect to any material

fact, or which omits to state any material fact necessary in order to make the statements therein

not false or misleading.” 17 C.F.R. §240.14a-9. Specifically, the Company’s proxy statement filed

on June 30, 2022 violated §14(a) and Rule 14a-9 because solicited stockholder approval for the

election of directors while failing to disclose material facts about Danimer’s business.

        90.     In the exercise of reasonable care, defendants should have known that the

statements contained in the proxy statement were materially false and misleading.

        91.     The misrepresentations and omissions in the proxy statement were material to

Company shareholders in voting on the proxy statement. The Proxy Statement solicited

shareholder votes for: (i) director nominees; (ii) executive compensation; (iii) frequency of votes

on executive compensation; and (ii) ratification of independent accounting firm. The proxy

statement was an essential link in the accomplishment of the continuation of defendants’ continued

violation of their fiduciary duties.
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         92.   The Company was damaged as a result of the defendants’ material

misrepresentations and omissions in the proxy statement.

                                     PRAYER FOR RELIEF

         WHEREFORE, plaintiff, on behalf of Danimer, demands judgment as follows:

         A.    Declaring that plaintiff may maintain this action on behalf of Danimer and that

plaintiff is an adequate representative of the Company;

         B.    Against all of the defendants and in favor of the Company for the amount of

damages sustained by the Company as a result of the defendants’ breaches of fiduciary duties,

waste of corporate assets, and unjust enrichment;

         C.    Declaring that Defendants have breached and/or aided and abetted the breach of

their fiduciary duties to Danimer;

         D.    Directing Danimer to take all necessary actions to reform and improve its corporate

governance and internal procedures to comply with applicable laws and to protect Danimer and its

stockholders from a repeat of the damaging events described herein, including, but not limited to,

putting forward for stockholder vote, resolutions for amendments to the Company’s Bylaws or

Articles of Incorporation and taking such other action as may be necessary to place before

stockholders for a vote of the following corporate governance policies:

               1.     a proposal to strengthen the Company’s controls over financial reporting;

               2.     a proposal to strengthen the Board’s supervision of operations and develop

and implement procedures for greater stockholder input into the policies and guidelines of the

Board;

               3.     a proposal to strengthen Danimer’s oversight of its disclosure procedures;

               4.     a provision to control insider transactions; and



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               5.      a provision to permit the stockholders of Danimer to nominate at least three

candidates for election to the Board;

       E.      Extraordinary equitable and/or injunctive relief as permitted by law, equity, and

state statutory provisions sued hereunder, including attaching, impounding, imposing a

constructive trust on, or otherwise restricting the proceeds of defendants’ trading activities or their

other assets so as to assure that plaintiff on behalf of Danimer has an effective remedy;

       F.      Awarding to Danimer restitution from defendants, and each of them, and ordering

disgorgement of all profits, benefits, and other compensation obtained by the defendants;

       G.      Awarding to plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

       H.      Granting such other and further relief as the Court deems just and proper.

                                         JURY DEMAND

       Pursuant to Fed. R. Civ. P. 38(b), plaintiff demands a trial by jury.




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Dated: February 9, 2023           BIELLI & KLAUDER, LLC

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